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                    IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


Angelica CASTAÑON, et al.,

      Plaintiffs,

      v.                                       Case No. 1:18-cv-2545
                                               (RDM, RLW, TNM)
The UNITED STATES OF AMERICA,
et al.,

      Defendants.




          PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
            DEFENDANTS’ MOTION TO DISMISS COMPLAINT AND
      IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

       The denial of voting representation in Congress to the residents of our Nation’s capital is

contrary to the core principles on which the United States was founded. As the three-judge

district court stated in Adams v. Clinton, 90 F. Supp. 2d 35 (D.D.C 2000), aff’d 531 U.S. 941

(2000), there is a “contradiction” between our “democratic ideals” and reality: The District of

Columbia is ruled by Congress without the consent of the governed, and District residents are

subjected to taxation without representation. The Department of Justice (“DOJ”) acknowledges

in its Motion to Dismiss (“MTD”) the “‘inequity of the situation plaintiffs seek to change’” and

that “[v]oting has long been recognized as a vital right.” MTD 1, 37. Indeed, the Supreme Court

has emphatically held voting to be a fundamental right—indeed, the most fundamental right,

because it is preservative of all other rights. See, e.g., Harper v. Va. State Bd. of Elections, 383

U.S. 663, 667 (1966). Plaintiffs here seek to correct the undisputed injustice of denying the most

fundamental of all rights to hundreds of thousands of District residents.

       Recent jurisprudential developments compel the conclusion that the Court should declare

that the Equal Protection Clause, the Due Process Clause, and the First Amendment entitle

District residents to voting representation in Congress. DOJ’s Motion to Dismiss should therefore

be denied and Plaintiffs’ Motion for Summary Judgment should be granted.

        Equal Protection. Both Houses of Congress have passed bills premised on Congress’s

authority to provide voting representation to District residents under the “District Clause,” art. I,

§ 8, cl. 17, which gives Congress the power to “exercise exclusive Legislation in all Cases

whatsoever” involving the District. A 2007 bill passed by the House of Representatives would

have provided voting representation to District residents. A 2009 Senate bill did the same. See

H.R. 1905, District of Columbia House Voting Rights Act, Roll Call Vote No. 231 (Apr. 19,



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2007); S. 160, District of Columbia House Voting Rights Act, Roll Call Vote No. 73 (Feb. 26,

2009).

         Congress’s conclusion that it has this power under the District Clause was supported by a

broad array of experts, including former D.C. Circuit Judges Kenneth Starr and Patricia Wald.

The essence of their argument, as Judge Wald put it, is that in light of the broad language of the

District Clause and because “[t]here certainly is no evidence in the text or history of the

Constitution signifying the Framers wanted to deny the District the franchise forever,” Congress

may provide “D.C. residents the most basic right of all democratic societies, the right to vote for

one’s leaders.” Ending Taxation Without Representation: The Constitutionality of S. 1257:

Hearing Before the Senate Comm. on the Judiciary, 110th Cong. 255–60 (2007).

         The argument that Congress has the power to grant voting representation to District

residents under the District Clause was neither presented to nor considered by the Adams court.

And although that argument was emphasized in Plaintiffs’ Amended Complaint, DOJ’s Motion to

Dismiss does not dispute that Congress has this power.

         Because Congress has the power to provide voting representation to District residents but

has not done so, Plaintiffs’ equal protection argument is straightforward: Congress cannot

lawfully extend voting representation in Congress to some taxpaying citizens of the United States

subject to the federal laws that Congress enacts, while denying such representation to District

residents.

         Because voting representation is a fundamental right, this disparate treatment is

permissible only if it advances a compelling government interest. But there is not even a rational

basis for denying voting representation in Congress to District residents. The District was created

because the Founders did not want Congress to depend on State authorities for protection.



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Providing voting representation to District residents would not interfere with Congress’s ability to

protect itself. In short, Congress’s failure to exercise its power to provide voting representation to

District residents violates those citizens’ equal protection rights.

        The inequity of this situation is shown by Congress’s decision to grant statehood, and

hence voting representation rights, to residents of fourteen former territories that were

approximately the same size as the District or smaller when the territory became a state. It was

exacerbated by Congress’s adoption of the Uniformed and Overseas Absentee Voting Act of

1986, Pub. L. No. 99-410, 100 Stat. 924, (codified at 18 U.S.C. §§ 608–09, 39 U.S.C. § 3406, 52

U.S.C. §§ 20301–10) (“Overseas Voting Act”), which requires States to allow American citizens

living overseas to vote for representatives and senators in the State where they previously lived,

even if the State does not consider them to be State residents. There is no sufficient justification

for permitting, for example, a person who moves from Bethesda to Mumbai to continue to vote in

Maryland, while rescinding that person’s voting representation in Congress if she moves to the

District.

        The inequity is further shown by the treatment of citizens living on federal “enclaves,”

such as military bases. In Evans v. Cornman, 398 U.S. 419, 423 (1970), the Court held that even

if a State does not consider residents of a federal enclave within the State’s boundaries to be State

residents, equal protection principles require enclave residents to be permitted to vote for senators

and members of Congress. Thus, enclave residents and American citizens living overseas are

constitutionally entitled to voting representation in Congress, even though they are not residing on

State land. The fact that District residents are not State residents therefore does not provide a

sound basis for denying voting representation to District residents.




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       Due Process. A two-step analysis applies to determining which rights are fundamental.

Obergefell v. Hodges, 135 S. Ct. 2584 (2015). The first step is whether, in light of our nation’s

history and tradition, the right at issue is generally considered to be fundamental. Id. at 2598,

2602. A right can be fundamental even if it was denied to a particular group in the past, because

“[i]f rights were defined by who exercised them in the past, then received practices could serve as

their own continued justification and new groups could not invoke rights once denied.” Id. at

2602. The first step is thus to consider whether there is a long-standing right to voting

representation in Congress for American citizens, not whether there is a long-standing right for

voting representation in Congress for District residents. Under this analysis, there is no question

that the right to voting representation is fundamental because the right has been recognized as

vital for decades and, in recognition of its critical role in our democracy, it has been substantially

expanded over the last 230 years.

       The second step in the due process inquiry asks whether the reasons the right is considered

fundamental apply to the group seeking to exercise the right, and if so, whether a substantial

government interest justifies denial of the right to that group. Here, it is clear that the reasons the

right to vote is fundamental apply foursquare to District residents. It is also clear that the only

justification offered by DOJ for denying them that right lacks merit because granting District

residents the right to vote would in no way impair the government’s security.

       First Amendment Rights. Recent gerrymandering cases establish that denying voting

representation to District residents violates Plaintiffs’ First Amendment rights of association and

representation. Indeed, Plaintiffs have a stronger case than the plaintiffs in the recent

gerrymandering cases because Plaintiffs’ rights are not merely diminished, but are denied

altogether. The gist of the gerrymandering argument is that, by drawing district boundaries in



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order to favor candidates of one party and disfavor candidates of the other party, the association

rights of members of the disfavored party are burdened, because they have less reason to band

together to support a candidate if congressional district boundary lines have been drawn in order

to make it highly unlikely that a candidate from the disfavored party can win. Gill v. Whitford,

138 S. Ct. 1916, 1938 (2018) (Kagan, J., concurring) (explaining the “burden” placed on

members of the “disfavored party”). In addition, the representation rights of members of the

disfavored party are burdened because a representative from the favored party may be less likely

to take action requested by constituents who are members of the disfavored party. See Benisek v.

Lamone, 348 F. Supp. 3d 493, 517 (D. Md. 2018) (finding that the plaintiffs’ “representational

rights have been impermissibly burdened” by partisan gerrymandering), probable jurisdiction

noted, 139 S. Ct. 783 (argued Mar. 26, 2019).

       The corresponding rights of District residents are not merely burdened, but are practically

eradicated. As to District residents’ association rights, there is much less reason for anyone in the

District to band together to support a candidate for District Delegate than there would be if the

Delegate’s vote were counted in the House of Representatives, and the Senate does not recognize

the District’s “shadow senators” at all. Districts residents’ representation rights are practically

eradicated because they are not represented by anyone whose votes are counted and who therefore

can use their voting power to influence Members of the House of Representatives or Senators.

       DOJ’s Threshold Arguments. There is no merit to DOJ’s threshold arguments. As an

initial matter, the opinion of the three-judge Adams court, like any other district court decision, is

not binding precedent. The Supreme Court’s summary affirmance is binding precedent, but only

with respect to what was necessarily decided. It is clear that the Court decided that it had




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jurisdiction, because it affirmed the judgment below rather than granting the government’s motion

to dismiss for lack of jurisdiction.

        In addition, Plaintiffs have standing and surmount the various other procedural hurdles

DOJ seeks to erect for the same reason the Adams plaintiffs had standing: because a declaratory

ruling that they are constitutionally entitled to voting representation in Congress will significantly

increase the likelihood that Plaintiffs will obtain that relief.

                                       STANDARD OF REVIEW

        On a motion to dismiss for lack of subject matter jurisdiction, a plaintiff need only

establish “by a preponderance of the evidence that the court has subject matter jurisdiction.”

Bigwood v. Def. Intelligence Agency, 699 F. Supp. 2d 114, 116 (D.D.C. 2010) (citing Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992)).

        As to a motion to dismiss for failure to state a claim, “[t]o survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)).

        To prevail on a motion for summary judgment, a plaintiff must establish that there is no

genuine dispute as to any material fact and the judgment is warranted as a matter of law.

Fed. R. Civ. P. 56(a).

        Regarding the decision of the three-judge court in Adams, three points are relevant for this

case. First, because that decision was summarily affirmed by the Supreme Court, it is binding

here only with respect to what the Court necessarily decided in order to affirm. See e.g., Fusari v.

Steinberg, 419 U.S. 379, 391–92 (1975) (Burger, C.J., concurring) (“When we summarily affirm,

without opinion, the judgment of a three-judge District Court we affirm the judgment but not



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necessarily the reasoning by which it was reached.”). This affirmance directly addresses the

jurisprudential issues raised by DOJ.

        Second, beyond the issues necessarily addressed by the summary affirmance, Adams is

not binding here but has only the weight of any other district court case. See Farley v. Farley,

481 F.2d 1009, 1012 (3d Cir. 1973) (“The decision of a three-judge court is entitled to no more

weight than any other district court decision.”); see also Threadgill v. Armstrong World Indus.,

Inc., 928 F.2d 1366, 1371, n.7 (3d Cir. 1991) (“[E]ven a three judge decision of the district court

is not necessarily binding on any other district court.”); San Diego Unified Port Dist. v.

Gianturco, 651 F.2d 1306, 1315, n.24 (9th Cir. 1981) (“When a district court is convened as a

statutory three-judge panel, it still is sitting as a district court for purposes of stare decisis.”); IMS

Health Corp. v. Schneider, 901 F. Supp. 2d 172, 185, 185, n.6 (D. Me. 2012) (referring to a three-

judge panel decision as “instructive” but “not binding”); Mueller v. Allen, 514 F. Supp. 998, 1001

(D. Minn. 1981) (“[A] court's decision is not binding upon courts of equal rank. Moreover, a

specially convened three-judge district court is still a district court.”), aff'd, 676 F.2d 1195 (8th

Cir. 1982), aff'd, 463 U.S. 388 (1983).

        Third, on the merits, as is explained in this memorandum, Adams did not address the

arguments raised by plaintiffs in this case.

                                             ARGUMENT

I.      CONGRESS’S FAILURE TO EXERCISE ITS AUTHORITY UNDER THE
        DISTRICT CLAUSE TO RESTORE VOTING REPRESENTATION TO DISTRICT
        RESIDENTS VIOLATES EQUAL PROTECTION PRINCIPLES.

        A. The Argument that Congress has the Necessary Authority Under the District
           Clause Regardless of Whether the District Is a “State” Was Neither Advanced
           nor Addressed in Adams.

        Plaintiffs’ equal protection argument is simple: Congress has the power under the District

Clause to provide voting representation to District residents. Given that it has authority to

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provide such representation, Congress may not confer it on some groups but withhold it from

District residents without a compelling governmental interest. There is no compelling

justification here, nor even a rational basis.

        Defendants cite Adams for the conclusory claim that “[t]he Constitution reserves

representation in the House and Senate to residents of a state,” MTD 20, and further maintain that

because “the Constitution dictates the lack of representation for residents of the District, then all

of Plaintiffs’ claims must fail.” Id. at 25. But Plaintiffs fundamentally disagree with Defendants’

premise that the Constitution “dictates” a lack of representation here. Plaintiffs maintain that the

Constitution does not “reserve[] representation in the House and Senate to residents of a state”

when those residents live in the District, because—as both Houses of Congress have correctly

concluded, see infra at 9–12—the District Clause grants Congress the authority necessary to

extend the franchise to District residents. Plaintiffs further argue that Congress’s failure to

exercise its authority to extend the franchise here—as it has done on behalf of other groups that

were not residents of States —violates Equal Protection principles.

        The argument that Congress has the authority under the District Clause to grant voting

rights to District residents was neither made nor addressed in Adams. To the contrary, the

plaintiffs there expressly conceded that they “do not dispute that to succeed they must be able to

characterize themselves as citizens of a ‘state.’” 90 F. Supp. 2d at 46 (citations omitted). The

Plaintiffs here make no such concession—they argue that while the Constitution explicitly

requires citizens of States to have voting representation in Congress, it also gives Congress the

authority under the District Clause, art. I, § 8, cl. 17, to authorize voting representation in

Congress for District residents. Thus, while the Adams plaintiffs argued that the Constitution

should be construed such that “State” includes the District in the relevant provisions, the Plaintiffs



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here complain that Congress has failed to use its authority under the District Clause to provide

voting representation to District residents.

       In its Motion to Dismiss, DOJ does not dispute that Congress has that authority under the

District Clause, but instead contends that what matters is that the Adams court was “aware that

political remedies existed,” such as making the District a State. MTD 29. That does not address

Plaintiffs’ argument: Plaintiffs maintain that that there is no need for additional “political

remedies,” because Congress already has the necessary authority under the District Clause, and

the Equal Protection Clause requires Congress to use it to provide equal protection under the law.

       B. Congress has Confirmed its Authority to Give District Residents Voting Rights.

       Congress’s own determinations confirm Plaintiffs’ view that Congress has authority to

extend voting rights to District residents under the District Clause. Both houses of Congress, after

hearing extensive testimony from leading legal authorities, reached that conclusion.

       In April 2007, the House of Representatives passed the District of Columbia House

Voting Rights Act (H.R. 1905). The Act would have created a congressional district consisting of

the District of Columbia and given an additional Representative to Utah, and thus would have

increased the number of Members in the House of Representatives from 435 to 437. H.R. 1905

passed the House with bipartisan support by a vote of 241 to 177. See H.R. 1905, District of

Columbia House Voting Rights Act, Roll Call Vote No. 231 (Apr. 19, 2007). The Senate,

however, did not pass the bill in that Congress.

       But in February 2009, the Senate passed Senate Bill 160, the District of Columbia House

Voting Rights Act, on a bipartisan basis and by a wide margin of 61 to 37. See S. 160, Roll Call

Vote No. 73 (Feb. 26, 2009). Like H.R. 1905 in 2007, Senate Bill 160 would have made the

District of Columbia a congressional district, given an additional Representative to Utah, and



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increased the number of Members in the House of Representatives from 435 to 437. S. 160,

111th Cong. § 3. The House did not pass Senate Bill 160 in that Congress.

       During hearings on the House and Senate bills, bipartisan panels of lawmakers and

constitutional experts testified that Congress has the power under the District Clause to grant

District residents voting representation in Congress. The legal experts who testified included

former D.C. Circuit Judge and Solicitor General Kenneth Starr, former Chief Judge of the D.C.

Circuit Patricia Wald, and Senator Orrin Hatch.

       Senator Hatch supported the proposed legislation because “[the] principle of popular

sovereignty is so fundamental to our Constitution, the existence of the franchise so central, that it

ought to govern absent actual evidence that America’s founders intended that it be withheld from

one group of citizens.” Orrin G. Hatch, ‘No Right is More Precious in a Free Country’: Allowing

Americans in the District of Columbia to Participate in National Self-Government, 45 Harv. J. on

Legis. 287, 298–99 (Summer 2008).

       Judge Wald agreed:

       There certainly is no evidence in the text or history of the Constitution signifying
       the Framers wanted to deny the District the franchise forever . . . . [And] the courts
       have acceded to Congress’ unique power to legislate for the District when it
       exercises that power to put the District on a par with States . . . . Congress is justified
       in concluding the balance tilts in favor of recognizing for D.C. residents the most
       basic right of all democratic societies, the right to vote for one’s leaders.

Ending Taxation Without Representation: The Constitutionality of S. 1257: Hearing Before the

Senate Comm. on the Judiciary, 110th Cong. 255–60 (2007) (statement of Patricia M. Wald,

former Chief Judge, U.S. Court of Appeals for the D.C. Circuit).

        Judge Starr testified that the broad language of the District Clause (and the comparable

authority granted by the Enclave Clause) gives Congress the power to extend voting rights to

District residents and residents of federal enclaves. See Common Sense Justice for the Nation’s


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Capital: An Examination of Proposals to Give D.C. Residents Direct Representation: Hearing

Before the House Comm. on Government Reform, 108th Cong. 83–84 (2004) (statement of the

Hon. Kenneth W. Starr, former Solicitor General of the United States; former Judge, U.S. Court

of Appeals for the D.C. Circuit) (“Starr Statement”). Judge Starr explained that the Constitution’s

explicit grant of voting representation to “State” residents in Article I, Section 2, Clause 1 did not

preclude Congress from extending the right to other citizens. Judge Starr offered this

commonsense analysis:

       Absent any persuasive evidence that the Framers’ intent . . . was to deny the
       inhabitants of the District the right to vote for voting representation in the House of
       Representatives, a consideration of fundamental democratic principles further
       supports the conclusion that the use of [the] term [“State”, in Article I, Section 2 of
       the Constitution] does not necessitate that result.

Starr Statement at 83–84.

       Congress’s authority under the District Clause is further reinforced by the House and

Senate Committee Reports. The 2007 House Judiciary Committee Report states that “[w]hile

there [was] no evidence that the Framers intended to deny voting representation for District

residents, the Framers did provide the Congress with absolute authority over the District to rectify

such a problem.” H.R. Rep. No. 110-52, pt. 2, at 2 (2007). The 2007 House Oversight and

Government Reform Committee Report noted that “[s]cholars spanning the political and legal

spectrum have concluded that Congress has authority through this legislation to provide voting

representation in Congress for local residents. . . . What was done by statute in 1790, and then

undone by statute in 1800, can be redone by statute today.” H.R. Rep. No. 110-52, pt. 1, at 29

(2007). And the 2007 Senate Homeland Security and Governmental Affairs Committee Report

affirmed that “[t]wo centuries of political and judicial precedent support Congress’s authority to

legislatively extend House representation to the District under the District Clause” and that “[t]he

Committee believe[d] this authority, which the Supreme Court described as ‘plenary in every
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respect,’ allows Congress to live up to the principles this nation was founded upon, and provide

representation in the U.S. House of Representatives to the District of Columbia.” S. Rep. No.

110-123, at 4 (2007) (quoting Nat’l Mut. Ins. Co. v. Tidewater Transfer Co., 337 U.S. 582, 592

(1949) (Jackson, J., opinion)).

       The Senate thus endorsed Justice Jackson’s conclusion that the District Clause grants

Congress power that is “plenary in every respect,” including the power to treat residents of the

District like residents of the States for purposes of invoking diversity jurisdiction. Nat’l Mut. Ins.

Co., 337 U.S. at 592 Justice Jackson also stated that “[i]n no matter should we pay more

deference to the opinions of Congress than in its choice of instrumentalities to perform a function

that is within its power.” Id. at 603.

       C. Congress Correctly Concluded that There is No Evidence that the Founders
          Intended to Permanently Disenfranchise District Residents.

       The testimony and committee reports relating to the D.C. voting rights bills correctly

concluded that there is no evidence in either the text or history of the Constitution suggesting any

intent to forever deny voting representation to District residents. In fact, as DOJ recognizes,

MTD 24–25, the District was created for reasons having nothing to do with voting representation.

On June 20, 1783, while the Continental Congress was meeting at Independence Hall in

Philadelphia, several hundred disgruntled Pennsylvania State militiamen blocked the doors and

demanded back pay for Revolutionary War service. Congress asked Pennsylvania to send other

State militiamen for their protection, but Pennsylvania refused to do so. Congress disbanded in

disarray and fled to Princeton to resume deliberations. See Nat’l Constitution Ctr. Staff, How

Philadelphia Lost the Nation’s Capital to Washington, Constitution Daily (July 16, 2018),

https://constitutioncenter.org/blog/how-philadelphia-lost-the-nations-capital-to-washington;

Chasing Congress Away, U.S. House of Representatives, Office of the Historian (June 1, 2015),

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https://history.house.gov/Blog/Detail/15032422770; Kenneth R. Bowling, New Light on the

Philadelphia Mutiny of 1783: Federal-State Confrontation at the Close of the War for

Independence, 101 Pa. Mag. Hist. and Biography 419 (1977).

       In 1787, many of the same Founders returned to Philadelphia to draft the Constitution.

They were resolved that the safety and dignity of the federal government should never again rely

on a State’s willingness to offer protection. See, e.g., Federalist No. 43 (Alexander Hamilton or

James Madison):

       The indispensable necessity of complete authority at the seat of government, carries
       its own evidence with it . . . Without it, not only the public authority might be
       insulted and its proceedings interrupted with impunity; but a dependence of the
       members of the general government on the State comprehending the seat of the
       government, for protection in the exercise of their duty, might bring on the national
       councils an imputation of awe or influence, equally dishonorable to the government
       and dissatisfactory to the other members of the Confederacy.

For that reason, they decided to separate the seat of federal power from State-controlled land.

Nothing about that decision is inconsistent with providing voting rights to District residents.

Congress can prevent its proceedings from being “interrupted with impunity” whether or not

District residents have voting representation.

       In addition, it is noteworthy that none of the Founders argued that residents of the District

should not have voting representation in Congress. To the contrary, some argued that “[t]his

gov[ernment] [is] built on all the principles of free gov[ernment] [r]epresentation etc.” Founders

Online, New York Ratifying Convention. First Speech of July 17, [17 July 1788], National

Archives, (July 17, 1788), https://founders.archives.gov/?q=%22on%20all%20the%20princip

les%20of%20free%22&s=1111311111&r=1. Furthermore, prominent cities competed to be the

nation’s capital. It is unlikely that they would have done so had their leaders thought they would

lose voting representation in Congress as a consequence.



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       Rather than resulting from a determination that residents of the District should be

permanently disenfranchised, it is likely that District residents lost their voting rights as a

consequence of their small number when the capital moved to the District in 1801. In 1787, the

Confederation Congress adopted the Northwest Ordinance, which created the Northwest Territory

and established precedent for organized territories in the United States. Library of Congress,

Northwest Ordinance, https://www.loc.gov/rr/program/bib/ourdocs/northwest.html (last visited

June 2, 2019). The Ordinance provided that “whenever any of the said States shall have sixty

thousand free inhabitants therein, such State shall be admitted . . . into the Congress of the United

States.” An Ordinance for the government of the Territory of the United States northwest of the

River Ohio, § 14, art. 5 (July 13, 1787). That 60,000 free inhabitants’ threshold was comparable

to the then-current size of Delaware, the smallest of the States at the time. U.S. Census Bureau,

1970 Census: Return of the Whole Number of Persons within the Several Districts of the United

States 3 (1973), https://www2.census.gov/library/publications/decennial/1790/number_of_

persons/1790a-02.pdf?#.

       In 1788, Alexander Hamilton proposed an amendment to the New York ratifying

convention providing that “When the Number of Persons in the District or Territory to be laid out

for the Seat of the Government of the United States . . . amount to [an unspecified number] . . .

Provision shall be made by Congress for having a District representative in that Body.” The

Papers of Alexander Hamilton, vol. 5, 189–190 (Harold C. Syrett & Jacob E. Cooke eds., 1962).

That amendment was not adopted, but without explanation. It is, of course, well settled that

“unsuccessful attempts at legislation are not the best of guides to legislative intent.” Red Lion

Broad. Co. v. FCC, 395 U.S. 367, 381 n.11 (1969) (citing Fogarty v. United States, 340 U.S. 8,

13–14 (1950)); see also United States v. United Mine Workers, 330 U.S. 258, 281–282 (1947).



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That is because, “[l]ogically, several equally tenable inferences could be drawn from the failure of

the Congress to adopt an amendment in the light of the interpretation placed upon the existing law

by some of its members, including the inference that the existing legislation already incorporated

the offered change.” United States v. Wise, 370 U.S. 405, 411 (1962). Here, the draft

Constitution already included the District Clause, which gave Congress the broad authority over

the District necessary to extend voting representation to its residents.

       Hamilton was not the only member of the founding generation to think that District

residents should ultimately have voting representation, and who tied the issue to the population of

the District. Samuel Osgood of Massachusetts stated in 1788 that a District “Ten Miles Square”

is “capable of holding two Millions of People.” He urged that “the People settled there . . . when

numerous enough be represented in the lower House.” John Kaminski, Gaspare Saladino,

Richard Leffler, Commentaries on the Constitution: public and private, volume 3, 18 December

1787 to 31 January 1788, Wisconsin Historical Society Press at 266-67 (1984),

http://digicoll.library.wisc.edu/cgi-bin/History/History-idx?type=turn&id=History.DHR

Cv15&entity=History.DHRCv15.p0294&isize=text&q1=capable%20of%20holding%20two%20

millions%20of. The next year, while the First Federal Congress was considering the amendments

that became the Bill of Rights, a newspaper article asked, “shall they have no vote, even when

their number may be 40 or 50,000?” A Foreign Spectator XIII, Remarks on the Amendments to

the Federal Constitution, proposed by the Convention of Massachusetts, New Hampshire, New

York, Virginia, South and North-Carolina, with the minorities of Pennsylvania and Maryland,

New York Daily Gazette, June 17, 1789.

       This history suggests that the Founders were willing to accept a lack of representation in

Congress until the District reached a minimum size. As shown in Appendix A, the area that



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became the District had a population of about 14,000 residents, including slaves, as of 1800.

Thus, the number of “free inhabitants” was a small fraction of the 60,000 threshold established by

the Northwest Ordinance. It is, therefore, unsurprising that the Founders did not protest en masse

when District residents were not provided with voting representation in Congress in 1801, when

the capital moved to the District. It was simply far too small to be treated as a State.

        DOJ incorrectly suggests that the 1801 “Organic Act” intentionally stripped District

residents of voting representation. MTD 4. The Act itself did not address voting rights—it was

largely concerned with the establishment of courts in the District. Indeed, the final provision of

the Act, Section 16, explicitly states that “nothing in this act” affects “any other body corporate or

politic, within the said district, except insofar as it relates to . . . judicial powers . . . .” An Act

Concerning the District of Columbia, 2 Stat. 103, at 108 (February 27, 1801). The establishment

of the nation’s capital in the District resulted in the loss of voting rights for those living in the

District—but that was because the District Clause removed the seat of the government from the

control of any State, not because of any affirmative intent by Congress to deny the vote to those

residing in the District.

        The District did not reach the 60,000 threshold for about seven decades after its creation.

The District’s population increased sharply, from about 75,000 in 1860, including slaves, to about

130,000 in 1870—certainly enough to warrant voting representation under the terms of the

Northwest Ordinance. Indeed, as shown in Appendix A, the District was larger than each of the

fifteen States admitted to the union since 1864, except Oklahoma, according to the census

immediately prior to the State’s admission. Richard L. Forstall, U.S. Census Bureau, Population

of States and Counties of the United States: 1790-1990, at 2–4, 28 (March 1996),

https://www.census.gov/population/www/censusdata/PopulationofStatesandCounties



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oftheUnitedStates1790-1990.pdf. When Alaska and Hawaii were admitted in 1959, the next

year’s census indicated that they had about 200,000 and 600,000 residents, respectively, while the

District was home to more than 750,000 residents. Id. at 2. The Founders almost certainly would

have expected District residents to be provided with voting representation sometime during this

period, and probably closer to 1864 than 1959. However, once the District reached what the

Founders would have considered an appropriate size, Congress failed to exercise its District

Clause authority to provide voting rights—and apparently did not expressly recognize it had that

authority until the twenty-first century.

        In short, there is no evidence that the Founders intended to permanently disenfranchise

District residents. Nor is there any rational justification—much less a compelling one—why

District residents continue to lack voting representation.

        D. Congress has Acted to Provide Voting Representation to Similarly-Situated
           Citizens.

            1. Congress provided voting rights to citizens living in many of the territories.

        As noted above, see supra at 12–17, the most logical conclusion concerning the intent of

the Founders is that they thought District residents should be given voting representation in

Congress when the District’s population reached a suitable size. Accordingly, there was no

reason to deny voting representation to District residents while admitting territories smaller than

the District as States—which, of course, provided voting representation to the residents of those

territories. And as shown in Appendix A, the District was larger than fourteen of the fifteen

territories admitted as States since 1864 in the census immediately preceding their admission.

        District residents are taxpaying citizens who are comparable to the residents of the

territories that became States in all significant respects. Indeed, unlike the territories, the District

was formed from land that was part of the original thirteen States. It is, therefore, all the more


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unfair that Congress has failed to provide voting representation to District residents while

providing voting representation to smaller territories that were acquired later.

        There is no merit to DOJ’s argument that “Plaintiffs’ logic would equally call into

question the status of all U.S. territories, whose residents, like District residents, do not elect

congressional representatives because they are not residents of states.” MTD 35. Indeed, DOJ

imaginatively contends that Plaintiffs’ logic extends to residents of “wetlands.” Id. But the

Court’s judgment need extend no farther than the District. Unlike residents of the District,

residents of current United States territories do not pay federal income taxes. And, unlike the

District and many enclaves, the current U.S. territories were not carved out of land that used to

belong to a State. And, none of their residents ever had voting representation in Congress, while

District residents did until Congress adopted the 1801 Organic Act without providing for

continued voting representation in Congress.

        In short, there is no justifiable basis for Congress to provide voting representation to, for

example, residents of Alaska but not to District residents. Moreover, as next described, Congress

has provided voting representation to others who are not residents of states.

            2. Congress has acted to permit residents of federal enclaves to vote.

        Under the District Clause, Congress has authority to “exercise exclusive Legislation in all

Cases whatsoever, over such District (not exceeding ten Miles square) as may, by Cession of

particular States, and the Acceptance of Congress, become the Seat of Government of the United

States . . . .” U.S. Const. art. I, § 8, cl. 17. Similarly, pursuant to the Enclave Clause, which is the

second half of the sentence that begins with the District Clause, Congress possesses “like

Authority over all Places purchased by the Consent of the Legislature of the State in which the

Same shall be” as it does over the District itself—that is to say, absolute authority. Id. Based on



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essentially this same constitutional authority as provided in the District Clause, Congress has

created numerous federal enclaves. Indeed, the District is in substance a federal enclave, whose

establishment, unlike that of many military bases, national parks, and other properties purchased

by the federal government, was foreseen when the Constitution was adopted. However, Congress

has used its near-identical authority over enclaves and the District differently, effectively

conferring voting rights on the former while denying those rights to the latter.

       In 1970, the Supreme Court held in Evans v. Cornman, 398 U.S. at 420, that the Equal

Protection Clause requires that residents of the National Institutes of Health (“NIH”), a federal

enclave in Maryland, be permitted to vote in federal and State elections, including for United

States Senators and Representatives, in the State from which the enclave was carved. The Court

so held even though Maryland did not consider NIH residents to be Maryland residents. This

result was required, the Court held, because even though Congress could have barred the exercise

of State power in the enclave given its own exclusive jurisdiction, Congress instead acted to

permit Maryland “to extend important aspects of state powers over federal areas.” Id. at 423. For

example, Congress subjected NIH residents to Maryland “state criminal laws, state income tax,

state sales tax, state unemployment laws, state laws related to driving, state family law, and state

schools.” MTD 30. And once Congress chose to extend State authority to enclaves, the Court

held, Congress could not deny the right to vote because as “the citizen’s link to his laws and

government, [it] is protective of all fundamental rights and privileges.” Evans, 398 U.S. at 422.

       District residents are subject to D.C. Code provisions governing criminal laws, D.C.

income tax, and D.C. sales tax. They go to the D.C. Department of Motor Vehicles for a District

driver’s license, go to D.C. Superior Court to resolve family law disputes, and send their children

to the District of Columbia public school system. It is therefore perplexing that DOJ would



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contend that “it is impossible for the federal government to reduce its control over the District the

way it did over the federal enclave at issue in Evans, because there is no other obvious source of

law in the District to collect taxes, regulate driving, or mediate family dispute.” MTD 32.

Congress has already reduced its control over the District, as it has done over federal enclaves,

and has permitted the District to self-regulate in many areas—including those considered to be

critical by the Evans court. Likewise, the Council of the District of Columbia serves as the

District’s elected legislative body—contrary to DOJ’s claim that “[t]he District . . . lacks any . . .

state legislative apparatus.” Id. at 21.

         Thus, District residents are comparable to NIH residents in every way considered

significant by the Evans court—yet NIH residents have voting representation in Congress, and

District residents do not. The reason this is so is merely “because of distinctions between the

manner in which Congress has exercised its authority over the enclaves and the District . . . .”

Adams, 90 F. Supp. 2d at 68.

         DOJ’s apparent ignorance of the extent to which Congress has devolved authority to the

District government blinds it to the obviousness of the appropriate remedy. Congress has

devolved authority over enclave residents to the States in which those residents live and,

accordingly, enclave residents vote for the legislators who make those laws and who represent

state residents in Congress. District residents are not subject to laws passed by any State

legislators. Therefore, it is more appropriate for District residents, who vote for District

legislators, to be represented in Congress by legislators who represent the District rather than a

State.




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           3. Congress adopted the Overseas Voting Act, which guarantees voting
              representation in Congress to citizens living abroad.

       Defendants claim that “[n]othing about the [Uniformed and Overseas Citizens Absentee

Voting Act of 1986] changes the distinctions drawn by the Constitution between the District and

the States.” MTD 31. But more to the point, nothing about the distinction between the District

and the States changes Congress’s plenary authority under the District Clause. Congress has

acted by legislation to ensure that Americans who reside entirely outside of the United States—

and who therefore do not live within a State at all—can exercise their right to vote for

representation in Congress. Congress can do the same for District residents.

       The Overseas Voting Act allows otherwise disenfranchised American citizens residing in

foreign countries to vote by absentee ballot for United States Senators and Representatives in “the

last place in which the person was domiciled before leaving the United States.” 52 U.S.C. §

20310 (5)(C). The Americans covered by the Act do not actually reside in the State in which they

vote, they need not be considered residents of the State in which they vote, nor need they even

intend to one day return to that State.

       Prior to its enactment, overseas Americans’ right to vote depended on the governing laws

of their prior State of residence. Unhappy with this uneven extension of the franchise,

congressional representatives noted the importance of voting, even for those Americans who do

not live in any one of our States:

       Americans abroad not only lack opportunity to participate-they are excluded from
       representation . . . It is time Congress provided a clear and responsible response by
       enfranchising these citizens. The need for federal legislation is overwhelming. How
       can one justify a system which allows a former resident of Michigan now living in
       Paris to vote in the 1972 Presidential election but denies his fellow citizen and
       neighbor that fundamental privilege of citizenship merely because Rhode Island or
       West Virginia was his last state of residence before moving to France?




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Voting by U.S. Citizens Abroad: Hearing on S. 2101 and S.2384 Before the Subcomm. On

Privileges and Elections of the Senate Comm. on Rules and Admin. 93rd Cong. 70 (1973)

(statement of Sargent Shriver, Chairman, Ambassadors Committee for Voting by Americans

Overseas).

        Americans outside the United States possess both the necessary interest and the
        requisite information to participate in the selection of Senators and Congressmen
        back home. . . . the citizen outside of the United States also has his congressional
        interests. . . . It is apparent, moreover, that the local citizen and the oversea citizen
        share a number of common national interests, such as Federal taxation, defense
        expenditures (for example, U.S. troops stationed overseas), inflation, and the
        integrity of and competence of our National Government.

121 Cong. Rec. 14,734 (1975) (statement of Sen. Byrd).

        Citizens, wherever situated have an inherent constitutional right to vote, and that
        such a right should not be denied simply because those citizens cannot claim a
        residence in any State.

Voting by U.S. Citizens Abroad: Hearing on S. 2101 and S.2384 Before the Subcomm. on

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(statement of Sen. Pell).

        These arguments apply with equal, if not greater, force to District residents’ right to vote.

They too, wherever situated, have an inherent right to vote that should not be abridged merely

because they are not residents of any State. They too share common national interests with

residents of the fifty States. And they too regard themselves as citizens of these United States—

not merely as citizens of the District of Columbia. “The District is not an ‘ephemeral’ subdivision

of the ‘outlying dominion of the United States,’ but the capital—the very heart—of the Union

itself . . . . The power conferred by [the District Clause] is plenary; but it does not . . . authorize a

denial to the inhabitants of any constitutional guaranty not plainly inapplicable.” O'Donoghue v.

United States, 289 U.S. 516, 539 (1933). And while “[t]he constitution of the United States

declares that [C]ongress shall have exclusive legislation [over the District]; . . . it does not require

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that the power shall be despotic or unlimited.” Van Ness v. City of Washington, 29 U.S. 232, 265

(1830) (emphases in original).

        United States citizens who vote while living overseas can do so, not inherently “because

of their status as citizens of a state,” MTD 31, but because of Congressional action specifically

requiring States to permit overseas citizens to vote. DOJ attempts to justify the inclusion of

overseas residents in the franchise by pointing out that those residents used to live in a State—but

not all of them did. And, of course, some who live in the District once lived in a State. The

Overseas Voting Act even enables overseas American citizens have never resided in the United

States, such as children born abroad, to vote in congressional elections in the State in which that

person’s parents reside or last resided. Federal Voting Assistance Program, Never Resided

Voters: A Policy Brief 2 (Spring 2017), https://www.fvap.gov/uploads/FVAP/EO/FVAPNever

ResidedPolicyBrief_20170222_FINAL.pdf. There is no reason why Americans living overseas

and who have never lived in this country should have representation in Congress while Americans

living within walking distance of this Court should be denied that right. There is also no reason

why those who once lived in a State and now live overseas should be afforded the vote, but those

who once lived in a State but now live in the Nation’s Capital are denied that vote.

        E. Voting Representation Is a Fundamental Right, and Therefore its Denial Triggers
           Strict Scrutiny.

        DOJ acknowledges that rational basis review applies only where a classification does not

“target a suspect class or impinge on a fundamental right,” and further acknowledges that

“[v]oting has long been recognized as a vital right.” MTD 32, 37 (emphases added). DOJ

nevertheless argues that “a rational basis . . . is all that is required” because “[r]esidents of the

District are not a suspect class.” Id. at 32. It appears that DOJ believes there is a difference

between a fundamental right and a vital right.


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       But it is well-established both that voting representation is a fundamental right and that

impingement of voting rights—like impingement of any fundamental right—triggers strict

scrutiny. More than 130 years ago, the Supreme Court declared that “the political franchise of

voting is . . . a fundamental political right, because preservative of all rights.” Yick Wo v.

Hopkins, 118 U.S. 356, 370 (1886). The Court has repeatedly made similar declarations. See,

e.g., Reynolds v. Sims, 377 U.S. 533, 561–562 (1964) (quoting Yick Wo, 118 U.S. at 370);

Harper, 383 U.S. at 667 (quoting Yick Wo, 118 U.S. at 370); Burson v. Freeman, 504 U.S. 191,

191 (1992).

       In Obergefell, 135 S. Ct. at 2598, the Court held that in determining which rights are

fundamental, “[h]istory and tradition guide . . . the inquiry but do not set its outer boundaries.”

The Court emphasized that fundamental rights are not defined by who practiced them in the past,

because, “[i]f rights were defined by who exercised them in the past, then received practices could

serve as their own continued justification and new groups could not invoke rights once denied.”

Id. at 2602. In Obergefell, the Court reviewed the expansion of the right to marry to include

interracial couples, fathers behind in making child-care payments, and prison inmates, and

concluded that the right to marry is a fundamental right. 135 S. Ct. at 1598–2605 (citing Loving

v. Virginia, 388 U.S. 1, 12 (1967); Zablocki v. Redhail, 434 U.S. 374, 384 (1978); Turner v.

Safley, 482 U.S. 78, 95 (1987)).

       The expansion of voting rights over the last 230 years is even more extensive. From

today’s perspective, the Founders had an extremely restrictive view concerning who should

exercise the right to vote. Voting rights were initially limited to white male property owners, but

have been substantially expanded so that all adult citizens subject to federal income taxes are now




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eligible to vote, except District residents and some felons. This expansion has occurred by

constitutional amendments, legislation, and judicial decisions.

       One important expansion, accomplished by changes in State law in the late 1700s and

early 1800s, was the elimination of property ownership as a precondition for being permitted to

vote. Stanley L. Engerman & Kenneth L. Sokoloff, The Evolution of Suffrage Institutions in the

New World, J. Econ. Hist. Feb. 2005, at 1, 7, 11, 15–16. But the right to vote remained confined

for the most part to free, taxpaying, white adult males until the Civil War.

       Some subsequent expansions of the right to vote were accomplished by amending the

Constitution. The Fifteenth Amendment guarantees that “[t]he right of citizens of the United

States to vote shall not be denied or abridged by the United States or by any State on account of

race, color, or previous condition of servitude.” The Seventeenth Amendment provides that

Senators shall be “elected by the people” rather than appointed by State legislatures. The

Nineteenth Amendment prohibits denial of the right to vote “on account of sex.” The Twenty-

Third Amendment restored the right of Americans living in the District to vote in presidential

elections. The Twenty-Fourth Amendment prohibits poll taxes, but only in federal elections.

And the Twenty-Sixth Amendment expanded the right to vote to citizens who are “eighteen years

of age or older.”

       Other expansions of the right to vote have been enacted by statute. In 1924, Congress

enacted the Indian Citizenship Act, Pub. L. 68-175, 43 Stat. 253 (codified at 8 U.S.C. § 1401(b)),

which had the effect of giving the right to vote to approximately 125,000 Indians who had not

previously been considered citizens of the United States. The Voting Rights Act of 1965, Pub. L.

89-110, 79 Stat. 437 (codified at 52 U.S.C. §§ 10101, 10103–14, 10501–08, 10701–10702),

prohibits racial discrimination in voting and has been amended five times to expand protection of



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voting rights. In 1973, Congress restored the right of District residents to have a voice in their

own local government through election of a local legislature (the District Council), a right that

Congress had eliminated in 1874. District of Columbia Home Rule Act, Pub. L. No. 93-198, 87

Stat. 777 (codified at D.C. Official Code § 1-201.01, et seq.). And in 1986, Congress enacted the

Overseas Voting Act, which authorizes American citizens living overseas to vote in federal

elections in the State in which they previously lived, even if that State does not consider them to

be residents.

       It bears note that because an expansion was accomplished by constitutional amendment

does not necessarily mean that it could not have been accomplished by statute. From the

perspective of the group obtaining voting rights, a constitutional amendment may be seen as a

superior alternative because it may be changed only by a subsequent amendment, rather than by

legislation. On the other hand, given the difficulty in obtaining a constitutional amendment,

where voting rights can be successfully obtained through legislation, that may be the preferred

alternative. For example, although Americans living overseas could have been provided with

voting rights by amending the Constitution to require States to count their votes, Congress instead

enacted legislation.

       Other expansions of the right to vote have been accomplished by judicial decisions. As

noted above, in 1970 the Supreme Court held in Evans v. Cornman that the Equal Protection

Clause requires that residents of federal enclaves be permitted to vote in federal and State

elections in the State from which the enclave was created. The Court held that, owing to

Congress’s treatment of those residents under its Enclave Clause authority, residents of federal

enclaves have that right even if the State does not consider them to be State residents.




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          Other notable cases expanding voting rights include Reynolds v. Sims, 377 U.S. at 565–

566 which established the one-person, one-vote rule. In that case, the Court applied constitutional

principles derived from provisions adopted almost one hundred years prior to the decision, but

had not previously been interpreted to require one-person, one vote. In addition, two years later,

the Court in Harper v. Virginia State Board of Elections struck down poll taxes as an

unconstitutional barrier to the franchise in State elections, declaring that “wealth or fee paying

has, in our view, no relation to voting qualifications; the right to vote is too precious, too

fundamental to be so burdened or conditioned.” 383 U.S. at 670. The Court similarly struck

down durational residency requirements in 1972. Dunn v. Blumstein, 405 U.S. 330, 332–33

(1972).

          In Reynolds, the Court reviewed much of the history described above and spoke of the

“continuing expansion of the scope of the right of suffrage in this country.” 377 U.S. at 555. In

light of that history of expansion, it is clear that the right to vote is a fundamental right. As noted

above, the Supreme Court described the right to vote as a fundamental right in 1886. Yick Wo v.

Hopkins, 118 U.S. at 370 (declaring that “the political franchise of voting is . . . a fundamental

political right, because preservative of all rights”). In 1932, the Court recognized the “numerous

requirements as to procedure and safeguards which experience shows are necessary in order to

enforce the fundamental right” to vote. Smiley v. Holm, 285 U.S. 355, 366 (1932). In 1964, in

Wesberry v. Sanders, 376 U.S. 1, 17–18 (1964), the Court stated that:

          No right is more precious in a free country than that of having a voice in the election
          of those who make the laws under which, as good citizens, we must live. Other
          rights, even the most basic, are illusory if the right to vote is undermined. Our
          Constitution leaves no room for classification of people in a way that unnecessarily
          abridges this right.

That same year, in Reynolds, 377 U.S. at 561–62, the Court declared that:



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        Undoubtedly, the right of suffrage is a fundamental matter in a free and democratic
        society. Especially since the right to exercise the franchise in a free and unimpaired
        manner is preservative of other basic civil and political rights, any alleged
        infringement of the right of citizens to vote must be carefully and meticulously
        scrutinized.

        In 1993, in passing the National Voter Registration Act, Pub. L. 103-31, 107 Stat. 77

(codified at 52 U.S.C. § 20501–11), Congress also concluded that the right to vote is a

fundamental right. It declared: “The Congress finds that . . . (1) the right of citizens of the United

States to vote is a fundamental right; [and] (2) it is the duty of the Federal, State, and local

governments to promote the exercise of that right . . . .” 52 U.S.C. § 20501(a)(1)–(2).

        It is therefore clear, as the Supreme Court wrote in Reynolds, that “any alleged

infringement of the right of citizens to vote must be carefully and meticulously scrutinized.” 377

U.S. at 562 (emphasis added). In Harper, which involved a challenge to Virginia’s poll tax, the

Court similarly emphasized that “where fundamental rights and liberties are asserted under the

Equal Protection Clause, classifications which might invade or restrain them must be closely

scrutinized and carefully confined.” 383 U.S. at 670 (emphasis added). Plainly, District

residents’ total lack of voting representation in Congress, a far greater “infringement” on the

fundamental right to vote than either the apportionment problem in Reynolds or the fee

requirement of Harper, is thus subject to heightened scrutiny—which, again, DOJ does not even

attempt to satisfy.

        In any event, the disfavored treatment of District residents cannot withstand even rational

basis scrutiny. DOJ correctly recognizes that the District was created so that Congress would not

need to depend on State and local authorities for protection. Yet this is the only rationale DOJ

offers for denying the vote to District residents. And it does so even though, as the Adams court

noted, the protection of the seat of the government cannot justify denying the vote to those who

live in the Nation’s capital. 90 F. Supp. 2d at 66.
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       It is therefore clear that the continued denial of the vote to District residents is

unconstitutional under the Equal Protection Clause.

II.    VOTING REPRESENTATION IN CONGRESS IS A FUNDAMENTAL RIGHT OF
       CITIZENS OF THE UNITED STATES TO WHICH DISTRICT RESIDENTS ARE
       ENTITLED UNDER THE DUE PROCESS CLAUSE.

       Analysis under the Due Process Clause also compels the conclusion that the denial of

voting representation to District residents can no longer be justified. As shown above, supra at

23–28, it is clear that voting representation is a fundamental right. Because voting is a

fundamental right of American citizens, the only remaining question under the two-step

Obergefell inquiry is whether the reasons the right is fundamental apply to District residents. If

so, the denial of that right to those residents must advance a substantial governmental interest.

And the previous longstanding denial of voting representation to District residents cannot serve as

justification for continuing that denial. 135 S. Ct. at 2602.

       The Adams court correctly concluded that DOJ had “failed to offer a compelling

justification for denying District residents the right to vote in Congress.” 90 F. Supp. 2d at 66.

DOJ has again failed to do so because no substantial government interest is advanced by denying

voting representation to District residents. As explained previously, the District was created to

allow Congress to protect itself, and it is clear that voting representation for District residents will

not in any way diminish Congress’s ability to do so. Id. (noting agreement with dissenting

opinion that “denial of the franchise is not necessary for the effective functioning of the seat of

government”).

       DOJ suggests that the two-step Obergefell analysis does not apply because this case is

more like the Supreme Court case involving physician-assisted suicide than the same-sex

marriage case. MTD 36–37 (citing Obergefell, 135 S. Ct. at 2602; Washington v. Glucksburg,


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521 U.S. 702 (1997)). But that is plainly not so. In Obergefell, the Court emphasized the

expansion of the right to marry to include the right of interracial couples, prisoners, and spouses

who fail to pay child support. As shown above, supra at 23–28, there has been an even more

extensive record of expansion of voting rights over the last 230 years. In contrast, there has been

no comparable expansion of a right to commit suicide.

       DOJ also points to the Twenty-Third Amendment, which provided voting rights to District

residents in presidential elections. MTD 37. However, the fact that the expansion of voting rights

may be achieved by constitutional amendment does not mean that is the only way to expand

voting rights. Indeed, as the history relating to poll taxes shows, the adoption of a constitutional

amendment remedying one problem does not mean that a court may not remedy a related

problem. The Twenty-Fourth Amendment, adopted in 1964, bars poll taxes in federal elections.

Yet two years later in Harper the Court struck down State poll taxes. As that history

demonstrates, the fact that a constitutional amendment was adopted to give District residents

voting rights in presidential elections does not mean that this Court may not rule that District

residents are also entitled to voting representation in Congress. And, as noted, DOJ does not

dispute that Congress has the authority to grant that representation under the District Clause.

       Although further confirmation that voting is fundamental is not needed, the Supreme

Court’s decision in Timbs v. Indiana, 139 S. Ct. 683, 689 (2019) (citations omitted), recently

reiterated that our “Nation’s history and tradition” is relevant to determining whether a right is

“fundamental.” In that case, the Court examined to the right to be free of excessive fines,

beginning with the Magna Carta and extending to the present—today, all fifty States prohibit the

imposition of excessive fines. Id. at 686–91. The Court concluded that the right to be free from




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excessive fines is a fundamental right incorporated by the Fourteenth Amendment’s Due Process

Clause and hence applicable to the States. Id. at 691.

       Justices Thomas and Gorsuch concurred in Timbs, preferring to rely on the Fourteenth

Amendment’s Privileges or Immunities Clause rather than the Due Process Clause. But just as

their examination of our Nation’s history and tradition showed that freedom from excessive fines

is a Privilege due citizens of the United States, the same is true of the right to voting

representation. Therefore, applying the Privileges or Immunities Clause would lead to the same

result in this case as applying the Due Process Clause.

       Finally, with respect to due process, it bears emphasis that a right can be constitutionally

protected even if it is not explicitly granted by the Constitution. See, e.g., Franchise Tax Bd. of

Cal. v. Hyatt, 139 S. Ct. 1485, 1498 (2019) (finding that “[t]he Constitution implicitly strips States

of any power they once had to refuse each other sovereign immunity” and rejecting as “ahistorical

literalism” the argument that the Court “should find no right to sovereign immunity in another

State’s courts because no constitutional provision explicitly grants that immunity”) (emphasis

added). Indeed, most of the “fundamental” rights protected by due process—such as the right to

travel and the right to marry—are “unenumerated” rights. See, e.g., United States v. Guest, 383

U.S. 745 (1966) (noting the constitutional right to travel); Saenz v. Roe, 526 U.S. 489 (1999)

(same); Loving v. Virginia, 388 U.S. 1 (1967) (invalidating bans on interracial marriage); Turner

v. Safley, 482 U.S. 78 (1987) (holding that prisoners cannot be denied the right to marry). “There

are many other constitutional doctrines that are not spelled out in the Constitution but are

nevertheless implicit in its structure and supported by historical practice.” Franchise Tax Bd. of

Cal. v. Hyatt, 139 S. Ct. at 1498.




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        The right to vote is enumerated in the Constitution and has been greatly expanded over the

last 230 years, as shown supra at 23–27. Indeed, it is the most fundamental right since it is

preservative of all other rights. It should no longer be denied to District residents.

III.    DENYING DISTRICT RESIDENTS VOTING REPRESENTATION IN
        CONGRESS VIOLATES THEIR FIRST AMENDMENT RIGHTS TO
        ASSOCIATION AND REPRESENTATION.

        Plaintiffs’ First Amendment associational and representational rights are also

unconstitutionally infringed by their lack of voting representation in Congress, as shown by recent

gerrymandering cases.

        With respect to the right to association, political gerrymandering diminishes citizens’

interest in banding together to elect candidates when the election result has been foreordained by

“cracking and packing” district boundaries such that candidates of one party are almost certain to

win in some districts. As Justice Kennedy explained, “Representative democracy . . . is

unimaginable without the ability of citizens to band together.” Vieth v. Jubelirer, 541 U.S. 267,

314 (2004) (Kennedy, J., concurring). Justice Kagan elaborated: “Members of the ‘disfavored

party’ . . . deprived of their natural political strength by a partisan gerrymander, may face

difficulties fundraising, registering voters, attracting volunteers, generating support from

independents, and recruiting candidates to run for office (not to mention eventually accomplishing

their policy objectives).” Gill v. Whitford, 138 S. Ct. at 1938 (Kagan, J., concurring) (citation

omitted). Thus, a gerrymander may “burden[] the ability of like-minded people across the State

to affiliate in a political party and carry out that organization’s activities and objects.” Id. at 1939.

        In addition, the First Amendment representational rights of members of the disfavored

party are also burdened. A three-judge court recently held that the “representational rights” of

Republicans who lived in a district that had been gerrymandered so that it would almost certainly



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elect a Democrat were “impermissibly burdened” as a result. Benisek v. Lamone, 493 F. Supp. 3d

at 517. Members of a disfavored party are plainly less likely to persuade their representative to

vote in a manner that accomplishes their policy objectives.

       The corresponding rights of District residents are not merely burdened—they have no

chance of banding together to elect a like-minded voting representative. There would be much

more reason for District residents to band together to elect candidates for the House and Senate if

the District’s Delegate and shadow senators had full voting rights. And Districts residents’

representational rights are plainly seriously harmed by the absence of a voting representative or

senators to whom District residents may petition to vote to accomplish the residents’ policy

objectives and to persuade other lawmakers to join them in doing do.

       DOJ appears to completely misunderstand the rights articulated in decisions such at Gill v.

Whitford and Benisek v. Lamone. DOJ contends that there is no First Amendment violation here

because Plaintiffs may “freely assemble” and “petition existing lawmakers.” MTD 38. But no

one contended in those gerrymandering cases that they could not assemble or petition Congress.

They instead contended that gerrymandering burdened their ability to elect representatives of their

choice and thereby diminished their interest in banding together to seek to do so and to influence

action by their representatives.

       In Gill, for example, the alleged First Amendment injury was not that the ability to

assemble and petition lawmakers was eradicated by gerrymandering, but instead that the

gerrymander had “burdened” their ability to do so. 138 S. Ct. at 1939 (Kagan, J., concurring).

Similarly, the court in Benisek “concluded that the plaintiffs’ claims state a viable cause of action

in alleging that Maryland's 2011 redistricting plan violated the First Amendment by burdening

their representational and associational rights.” 348 F. Supp. 3d at 513 (emphasis added). The



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same is true here. In fact, Plaintiffs’ rights are plainly more significantly burdened than in the

gerrymandering cases because District residents have no ability to band together to elect voting

representatives and no voting representative from whom to seek assistance.

IV.    DEFENDANTS’ THRESHOLD ARGUMENTS LACK MERIT.

       DOJ advances several related threshold arguments for dismissal. But these efforts

(1) ignore the binding effect of the Supreme Court’s summary affirmance in Adams v. Clinton;

and (2) both fail to contest the critical facts conferring standing here and misconstrue applicable

law.

       A. The Supreme Court’s Summary Affirmance in Adams v. Clinton Constitutes
          Binding Precedent that Plaintiffs’ Claims Are Properly Before this Panel.

       A summary affirmance by the Supreme Court is binding with respect to what was

“essential to sustain that judgment.” See Ill. State Bd. of Elections v. Socialist Workers Party, 440

U.S. 173, 183 (1979). A finding of jurisdiction was essential to the Supreme Court’s summary

affirmance in Adams and is accordingly binding on this panel. This jurisdictional finding

included the determination that the plaintiffs in Adams, identically situated to the Plaintiffs here,

had standing to pursue their claims on the merits. (Beyond jurisdictional issues, however, neither

the Supreme Court’s affirmance nor the three-judge district court’s opinion is binding because a

summary affirmance does not affirm the reasoning of the court below and a three-judge district

court decision is not binding precedent. See supra at 7.)

       As the First Circuit explained in Igartúa v. Obama, 842 F.3d 149, 155 (1st Cir. 2016), the

Supreme Court’s implicit finding that the three-judge panel had jurisdiction over Adams’

apportionment claim “cannot be disregarded as a nonprecedential drive-by jurisdictional ruling”

(internal quotations and citations omitted). On direct appeal of the Adams decision to the

Supreme Court, the parties expressly disputed whether “the failure to apportion members of the

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House of Representatives to the District” was “properly before a three-judge court” under

28 U.S.C. § 2284(a)—the same provision under which Plaintiffs bring this suit. Igartúa, 842 F.3d

at 154 (quoting Adams, 90 F. Supp. 2d at 38). The “government asked the Court to dismiss the

[Adams] appeal either because the three-judge district court lacked jurisdiction over appellants’

claim or because appellants lack[ed] standing to seek the relief that they have requested.” Id.

(internal quotations and citations omitted). But the Court declined to dismiss and instead

affirmed, while also noting that Justice Stevens would have dismissed. Id. As the Igartúa court

found: “Given the government’s arguments distinguishing between dismissal and affirmance, and

Justice Stevens’ position that dismissal—rather than affirmance—was appropriate, the Court’s

decision to affirm appears to signify” that the panel had jurisdiction. Id.

       Moreover, after the Supreme Court’s summary affirmance, the government itself adopted

the view that the three-judge court had jurisdiction under Section 2284(a). Specifically, in a brief

opposing certiorari later in the Adams proceedings, the government wrote:

       Instead of dismissing the appeal for lack of jurisdiction [as the government had
       requested on direct appeal, the Supreme Court] . . . affirmed the judgment of the
       three-judge court on the merits. That determination . . . that the three-judge district
       court was properly convened under Section 2284(a) settles the issue for the parties.

Id. at 155 (quoting Br. for President of U.S. in Opp’n at n.2, Adams v. Bush, 537 U.S. 812 (2002)

(No. 01-1519)) (internal quotations and citations omitted). Simply put, the government

“interpreted the Supreme Court’s affirmance in Adams to mean that the nonapportionment claim

was properly before” the panel. Id.

       In sum, the government argued to the Supreme Court in Adams that the federal courts

lacked jurisdiction over the same kind of nonapportionment challenge at issue here. The Court

disagreed and—as the government recognized in Adams—that determination is binding.




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        B. Even if the Adams Court’s Determination Were Not Binding, Plaintiffs’ Claims
           Are Plainly Justiciable.

        Even if defendants’ threshold arguments were not foreclosed by the Adams Court’s

summary affirmance, they would still be wrong. This Court need not reach these arguments, but

it should reject them if it does.

            1. Plaintiffs have standing under Supreme Court precedent and the panel
               decision in Adams.

        Defendants argue that Plaintiffs cannot satisfy either the redressability or causation prongs

of standing analysis “[f]or essentially the same reasons.” MTD 16. But Supreme Court decisions

both before and after Adams—as well as the panel’s decision in Adams itself—plainly indicate

that Plaintiffs satisfy both prongs.

        a. Redressability: Prior to Adams, the Supreme Court addressed redressability in the

context of an apportionment challenge in Franklin v. Massachusetts, 505 U.S. 788 (1992). There,

Massachusetts and two of its voters brought statutory and constitutional challenges to the

Secretary of Commerce’s decision to allocate federal overseas employees to particular States for

reapportionment purposes. In a plurality decision for four justices, Justice O’Connor

acknowledged that “the President and other executive and congressional officials” would “not be

directly bound by” a decision granting the declaratory relief sought by the plaintiffs. Id. at 803.

But the plurality still found that “the injury alleged is likely to be redressed by declaratory relief

against the Secretary” of Commerce because, “as the Solicitor General has not contended to the

contrary, we may assume it is substantially likely” that the relevant government officials “would

abide by [a federal court’s] authoritative interpretation” of the relevant provisions. Id.

        The reasoning of Franklin applies directly here. Defendants do not dispute Plaintiffs’

standing to sue the Secretary of Commerce. Nor do Defendants in any way suggest that either


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executive or congressional officials would fail to abide by this Court’s authoritative interpretation

of the Constitution. Under Franklin, then, Defendants concede Plaintiffs’ standing in this case.

       The judgment in Utah v. Evans, 536 U.S. 452 (2002), decided two years after Adams v.

Clinton, reinforced the redressability standard of the Franklin plurality. There, Utah challenged

the Secretary of Commerce’s method for applying census data to award a seat in the House of

Representatives to North Carolina rather than Utah. As relief, Utah sought an injunction

compelling census officials not to rely on the challenged method. Id. at 459. Addressing

redressability, the Court—a majority of six justices this time—found that “the practical

consequence” of such a change in approach “would amount to a significant increase in the

likelihood that the plaintiff would obtain relief that directly redresses the injury suffered.” Id. at

464. In Utah v. Evans, then, the majority expressly adopted the “significant increase in the

likelihood of relief” standard for redressability articulated by the Franklin plurality. See also

Igartúa v. United States, 626 F.3d 592, 636 (1st Cir. 2010) (Torruella, J., concurring and

dissenting) (reaching the same conclusion after analyzing Franklin and Evans).

       Adams itself—although it was decided before Utah v. Evans—applied the same standard

as in Franklin and found that it was satisfied:

       The Secretary of Commerce plays the same role here as the Secretary did [in
       Franklin], and is equally amenable to suit. Here, as in Franklin, neither the President
       nor the House officials have suggested that they would refuse to follow a decision
       of this court (assuming, of course, that it were upheld on appeal) regarding the
       apportionment of congressional districts. Hence, we can conclude that plaintiffs
       satisfy the redressability prong of the standing inquiry and, as in Franklin, can do so
       without deciding whether the President or the Clerk is subject to suit.

90 F. Supp. 2d at 43–44 (footnotes omitted). In short, the Adams panel found that a federal court

decision authoritatively construing the law would likely be obeyed by the relevant government

officials—regardless of whether they were technically “bound” by the suit. The same is true here.



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       b. Causation: Defendants’ causation argument primarily relies on Judge Oberdorfer’s

decision on remand of certain of the claims in Adams to the district court. Specifically, with

respect to the Adams plaintiffs’ suit against the Senate officers, Judge Oberdorfer claimed that the

plaintiffs had not “established the necessary causal link between the defendants’ [the Secretary of

the Senate, the Sergeant of Arms, and the Doorkeeper] actions and their injury.” Adams v.

Clinton, 90 F. Supp. 2d. 27, 32–33 (D.D.C. 2000). According to Judge Oberdorfer, the

“plaintiffs’ alleged injury is the denial of their right to vote for a member of the Senate,” and that

could not happen unless a number of other things occurred: “[A] law would have to be passed

authorizing the Board of Elections to conduct an election for Senator, the Board of Elections

would have to hold such an election, and the Senate would have to refuse to recognize the

individual identified by the District as a Senator.” Id. at 33. “It is by no means certain that all, if

any, of these events would ever take place.” Id.

       While Judge Oberdorfer’s decision purported to address causation, it actually addressed

redressability—but without applying the Supreme Court’s redressability standard set forth in the

case law above as well as in Adams itself. The question whether the list of things identified by

Judge Oberdorfer would occur in the future has little, if anything, to do with what caused the lack

of representation challenged in Adams.

       Rather, whether certain things would happen in the future relates to whether a decision in

plaintiffs’ favor would have provided redress. And that is precisely the question to which the

Franklin/Evans standard applies—again, redressability is established when a favorable decision

“would amount to a significant increase in the likelihood that the plaintiff would obtain relief that

directly redresses the injury suffered.” See, e.g., Harrell v. Fla. Bar, 608 F.3d 1241, 1260, n.7

(11th Cir. 2010); Utah v. Evans, 536 U.S. at 464; see also Franklin, 505 U.S. at 803. The Adams



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panel answered that question correctly: If a court were to declare that the lack of voting

representation for District residents violates the Constitution, it would become much more likely

that the relevant government actors and entities would take action to redress that unlawful

situation. In Franklin, Evans, and Adams, that was so even though the Secretary of Commerce

plainly did not singlehandedly “cause” the challenged lack of representation. And there is really

no question that if the Court grants Plaintiffs their requested relief, District officials would eagerly

take the steps necessary to elect representatives with voting rights in Congress.

       Both the Supreme Court and the panel majority in Adams assumed that government

officials would likely comply with an authoritative construction of the relevant provisions by a

competent court. The same is true here.

           2. Granting the relief sought by Plaintiffs would not impinge congressional
              speech or debate in any way.

       Given the inconsistency between Defendants’ standing arguments and the Supreme

Court’s precedents discussed above, it is unsurprising that Defendants’ non-justiciability

arguments open not with standing, but with an unmeritorious Speech or Debate Clause argument.

This argument is little more than a restatement of the redressability claim. Moreover, Defendants

(1) advance virtually no analysis of the provision on which they rely; and (2) ignore the Adams

panel’s effective rejection of this argument.

       The Supreme Court has explained that to “prevent intimidation of legislators by the

Executive and accountability before a possibly hostile judiciary,” Gravel v. United States, 408

U.S. 606, 617 (1972), the Constitution provides that “for any Speech or Debate in either House,

[Members of Congress] shall not be questioned in any other Place,” U.S. Const. art. I, § 6, cl. 1.

“The purpose of the Clause is to insure that the legislative function the Constitution allocates to




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Congress may be performed independently.” Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491,

502 (1975).

       The “heart of the Clause” is thus “speech or debate in either House.” Gravel, 408 U.S. at

625. The Supreme Court has held that:

       Insofar as the Clause is construed to reach other matters, they must be an integral
       part of the deliberative and communicative processes by which Members
       participate in committee and House proceedings with respect to the consideration
       and passage or rejection of proposed legislation or with respect to other matters
       which the Constitution places within the jurisdiction of either House.

Id. (emphasis added). Thus, “the courts have extended the privilege to matters beyond pure

speech or debate in either House, but only when necessary to prevent indirect impairment of such

deliberations.” Id. (emphasis added) (internal quotations and citations omitted).

       Defendants do not articulate any way in which a declaration finding the District’s lack of

voting representation in Congress to be unconstitutional would affect speech or debate in either

House. Nor do they maintain that such a declaration would interfere with the “deliberative and

communicative processes by which Members participate in committee and House proceedings.”

Id. at 625. Defendants also do not cite any case finding a nonapportionment challenge—or

anything remotely similar—to be barred by the Speech or Debate Clause.

       Instead, Defendants claim that the Speech and Debate Clause bars Plaintiffs’ suit because

Plaintiffs allegedly challenge “legislative activities—namely, the Senate’s constitutionally-

mandated duty to judge the election and qualification of its members, U.S. Const. art. I, § 5, cl. 1,

and the Senate’s ability to control procedures for voting on legislation and speaking and debating

in the chamber.” MTD 11. But Plaintiffs do no such thing. Again, the Speech or Debate Clause

protects the process of legislating—but the declaration that Plaintiffs seek here has nothing to do

with such processes. Indeed, Congress is just as free to debate denying voting representation for

residents of the District as it is to debate refusing to recognize women or African American
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representatives. Plaintiffs simply argue that congressional action (or inaction) perpetuating the

first of these policies is as unconstitutional as actually adopting either of the latter two would be,

and that the Speech or Debate Clause does not bar a federal court from so stating.

       Defendants ignore the fact that the Adams panel rejected a similar Speech or Debate

Clause argument. Defendants there did not claim that the Speech or Debate Clause constituted an

outright bar to judicial review, as here, but instead made the subtler argument that the Clause

should be understood to negate causation or redressability. Specifically, “the Clerk of the House

contend[ed] that the Speech or Debate Clause” would prevent the court from “enjoining her

should she decide not to comply with our declaration of the law,” thereby breaking “the chain of

causation” such that Plaintiffs purportedly could not “satisfy the requirement of redressability.”

90 F. Supp. 2d at 42. The panel rejected this argument, however, without addressing the propriety

of an injunction. As noted in our redressability discussion, see supra at 34–35, the three-judge

court found that declaratory relief would likely cause “the President and the congressional

officials [to] follow the law as the Court articulated it.” Id.

       As in Adams, Defendants’ Speech or Debate Clause argument here is merely a

repackaging of their redressability argument. Defendants’ objection is not really that granting

Plaintiffs the declaratory relief they seek would interfere with speech or debate in Congress—it is

that actually mandating specific “legislative activities” would do so. MTD 11–12. But Plaintiffs

do not ask for that relief any more than the plaintiffs in Adams did, and Defendants’ Speech and

Debate Clause argument should be rejected for the same reasons here. Indeed, in the end,

Defendants’ Speech and Debate Clause argument proves way too much: it amounts to a

contention that a Court can never declare congressional action unconstitutional, since to do so

would interfere with Congress’s prerogatives under that Clause. Plainly, this is not correct.



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           3. Defendants’ separation of powers argument is another restatement of their
              redressability claim and should also be rejected.

       Defendants also argue that “Plaintiffs’ claims raise serious separation-of-powers concerns

because Plaintiffs seek to compel Congress to legislate or propose constitutional amendments.”

MTD 12. But this argument merely restates the redressability concern repeatedly addressed

above. Again, as in both Franklin and Adams, Plaintiffs here seek a declaration of the law by a

competent court against the Secretary of Commerce (and others), whom defendants appear to

concede is a proper defendant. Such a declaration would not “compel” Congress to do

anything—but as Justice O’Connor wrote in Franklin, Plaintiffs’ injury would “likely” be

“redressed by declaratory relief against the Secretary” because, “as [defendants have] not

contended to the contrary, we may assume it is substantially likely” that the relevant government

officials “would abide by [a federal court’s] authoritative interpretation” of the relevant

provisions. 505 U.S. at 803.

           4. Defendants recognize that Adams rejected their political question argument,
              and that ruling was correct.

       Defendants claim that Plaintiffs “present a nonjusticiable political question,” MTD 19, but

acknowledge that “the court in Adams concluded otherwise.” Id. (citing Adams, 90 F. Supp. at

40). The Adams panel was correct.

       As the Adams panel pointed out, “[t]he Supreme Court has repeatedly declared that

constitutional challenges to apportionment are justiciable.” 90 F. Supp. 2d. at 40 (internal

quotations and citations omitted). The “purely legal issue” of whether “District residents are

among those qualified to vote for congressional representatives” under the U.S. Constitution “is

one the courts are perfectly capable of resolving.” Id. This Court should do so here.




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                                      CONCLUSION

       The Court should deny DOJ’s Motion to Dismiss and grant Plaintiffs’ Motion for

Summary Judgment.



June 3, 2019                                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
          I hereby certify that on June 3, 2019 I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, and have verified that such filing was sent

electronically using the CM/ECF system to all parties who have appeared with an email address of

record.



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                       APPENDIX A
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                          State and District Populations From Census
                               Immediately Preceding Statehood
         New State         Year Joined       Census Year        State Population        D.C. Population
      Vermont                  1791               1790                       85,425                    N/A
      Kentucky                 1792               1790                       73,677                    N/A
      Tennessee                1796               1790                       35,691                    N/A
      Ohio                     1803               1800                       42,159                  14,093
      Louisiana                1812               1810                       76,556                  24,023
      Indiana                  1816               1810                       24,520                  24,023
      Mississippi              1817               1810                       31,306                  24,023
      Illinois                 1818               1810                       12,282                  24,023
      Alabama                  1819               1810                        9,046                  24,023
      Maine                    1820               1820                      298,335                  33,039
      Missouri                 1821               1820                       66,586                  33,039
      Arkansas                 1836               1830                       30,388                  39,834
      Michigan                 1837               1830                       28,004                  39,834
      Florida                  1845               1840                       54,477                  43,712
      Texas                    1845               1840                        N/A                    43,712
      Iowa                     1846               1840                       43,112                  43,712
      Wisconsin                1848               1840                       30,945                  43,712
      California               1850               1850                       92,597                  51,687
      Minnesota                1858               1850                        6,077                  51,687
      Oregon                   1859               1850                       12,093                  51,687
      Kansas                   1861               1860                      107,206                  75,080
      West Virginia            1863               1860                      376,688                  75,080
      Nevada                   1864               1860                        6,857                  75,080
      Nebraska                 1867               1860                       28,841                  75,080
      Colorado                 1876               1870                       39,864                 131,700
      North Dakota             1889               1880                       36,909                 177,624
      South Dakota             1889               1880                       98,268                 177,624
      Montana                  1889               1880                       39,159                 177,624
      Washington               1889               1880                       75,116                 177,624
      Idaho                    1890               1890                       88,548                 230,392
      Wyoming                  1890               1890                       62,555                 230,392
      Utah                     1896               1890                      210,779                 230,392
      Oklahoma                 1907               1900                      790,391                 278,718
      New Mexico               1912               1910                      327,301                 331,069
      Arizona                  1912               1910                      204,354                 331,069
      Alaska                   1959               1950                      128,643                 802,178
      Hawaii                   1959               1950                      499,794                 802,178
Source: U.S. Census Bureau, Population of States and Counties of the United States: 1790-1990, 2-4, 28 (March 1996),
https://www.census.gov/population/www/censusdata/PopulationofStatesandCountiesoftheUnitedStates1790-1990.pdf.
